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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
                                                       Case No. 1:15-cr-57
v.
                                                       HONORABLE PAUL L. MALONEY
HUMBERTO AARON
MANRIQUE-MENDOZA,

                  Defendant.
_________________________________/

                 ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Phillip J. Green in this action (ECF No. 33). The Report and Recommendation

was duly served on the parties, and no objection has been made thereto within the time required

by law.

          THEREFORE, IT IS ORDERED that:

          1.     The Report and Recommendation of the Magistrate Judge is approved and

adopted as the opinion of the Court.

          2.     Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Counts One and Seven of the Indictment.

          3.     The written plea agreement is hereby continued under advisement pending

sentencing.


Date: August 31, 2015                                   /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge
